Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 1 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 2 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 3 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 4 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 5 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 6 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 7 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 8 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document      Page 9 of 10
Case 14-31229-sgj15   Doc 2    Filed 03/09/14 Entered 03/09/14 23:30:56   Desc Main
                              Document     Page 10 of 10
